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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  ALEX MIKULSKI, derivatively on behalf of
  ALEXION PHARMACEUTICALS, INC.,
                                                      C.A. No. 17-cv-1344-JEJ
         Plaintiff,

         vs.

  LEONARD BELL, DAVID L. HALLAL,
  DAVID R. BRENNAN, LUDWIG N.
  HANTSON, VIKAS SINHA, DAVID J.
  ANDERSON, CARSTEN THIEL, ALVIN S.
  PARVEN, ANDREAS RUMMELT, ANN M.
  VENEMAN, M. MICHELE BURNS,
  CHRISTOPHER J. COUGHLIN, JOHN T.
  MOLLEN, FELIX J. BAKER, R. DOUGLAS
  NORBY, WILLIAM R. KELLER, JOSEPH A.
  MADRI, and LARRY L. MATHIS,

         Defendants,

         and

  ALEXION PHARMACEUTICALS, INC.,

         Nominal Defendant.



  NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE PURSUANT TO
                        F.R.C.P. 41(a)(1)(A)(i)


       Pursuant to F.R.C.P. 41(a)(1) and 23.1(c) of the Federal Rules of Civil Procedure, Plaintiff

Alex Mikulski hereby gives notice that the above-captioned action is voluntarily dismissed without

prejudice against Defendants.

       Voluntary dismissal is appropriate under Fed. R. Civ. P. 41(a)(1) given that Defendants

have not answered the Complaint or filed a motion for summary judgment.
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       Notice of this voluntary dismissal is not required under Fed. R. Civ. P. 23.1(c) because

neither Plaintiff nor Plaintiff’s counsel have received or will receive any compensation for this

dismissal.


Dated: February 6, 2018                     Respectfully submitted,

                                            FARNAN LLP

                                            /s/ Brian E. Farnan
                                            Brian E. Farnan (Bar No. 4089)
                                            Michael J. Farnan (Bar No. 5165)
                                            919 N. Market St., 12th Floor
                                            Wilmington, DE 19801
                                            Telephone: (302) 777-0300
                                            Facsimile: (302) 777-0301
                                            Email: bfarnan@farnanlaw.com
                                                    mfarnan@farnanlaw.com

                                            THE ROSEN LAW FIRM, P.A.
                                            Phillip Kim (pro hac vice)
                                            275 Madison Avenue, 34th Floor
                                            New York, NY 10016
                                            Telephone: (212) 686-1060
                                            Facsimile: (212) 202-3827
                                            Email: pkim@rosenlegal.com

                                            THE BROWN LAW FIRM, P.C.
                                            Timothy W. Brown (pro hac vice)
                                            240 Townsend Square
                                            Oyster Bay, NY 11771
                                            Telephone: (516) 922-5427
                                            Facsimile: (516) 344-6204
                                            Email: tbrown@thebrownlawfirm.net

                                            Attorneys for Plaintiff




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